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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA               :

      v.                               : Crim. No. CCB-14-0591

ANGELA M. BLYTHE                       :


           DEFENDANT’S MOTION FOR RETURN OF PASSPORT


      Defendant, through counsel, moves this Honorable Court to order the Clerk’s

Office to return the Defendant’s passport. In support she states the following.

      Ms. Blythe has completed her term of supervised release. She has also

completed additional schooling and is now applying for jobs. A potential employer

has requested a copy of her passport. Currently, the passport is in the possession of

the Clerk of the Court.

      Ms. Blyth requests that the passport be sent to current counsel who will

make it available to her.

      Wherefore, Defendant requests that this Motion be granted.


                                       Respectfully submitted,


                                       /s/__________________________
                                       Mary E. Davis

                                       Davis & Davis
                                       1350 Connecticut Avenue, NW
                                       Suite 202
                                       Washington, DC 20036
                                       202.234.7300
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                           CERTIFICATE OF SERVICE

      I hereby certify that this Response was served upon all counsel of record via

the Court’s CM/ECF System on this 28th day of December 2020.



                                      /s/__________________________
                                      Mary E. Davis
